                                   Case 3:17-cv-00621-KAD Document 1-13 Filed 04/13/17 Page 1 of 2

    JS 44 (Rev. 08/16)                                                       CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a)    PLAINTIFFS                                                                                         DEFENDANTS
    Aetna Life Insurance Company                                                                              Nellina Guerrera, Carter Mario Injury Lawyers, Sean Hammil, Danielle
                                                                                                              Wisniowski, and Big Y Foods, Inc.
       (b)     County of Residence of First Listed Plaintiff         Hartford                                    County of Residence of First Listed Defendant          Monroe
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (Tv CS. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCA'T'ION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

       (c)     Attorneys (Firm :Name, Address, and Telephone :Vumber)                                            Attorneys (      .Known)

    Brian Bender, Harris Beach, PLLC, 100 Wall Street, 23rd Floor, New
    York, NY 10005

    II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box .fOr Plaintiff
                                                                                                            (For Diversity Cases Onlyj                                          and One Box for Defendant)
71 I         C.S. Government             4 3 Federal Question                                                                            PTF      DEE                                           PTF      DEF
                Plaintiff                         (US. Government Not a Party)                         Citizen of This State             1 1      7         Incorporated or Principal Place      J 4     7 4
                                                                                                                                                              of Business In This State

    J2       U.S. Government             1 4 Diversity                                                 Citizen of Another State          J 2       J 2      Incorporated and Principal Place     7 5     75
               Defendant                          (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                       Citizen or Subject of a           13        J 3     Foreign Nation                       1 6      76
                                                                                                         Foreign Country
    IV. NATURE OF SUIT (Place an "X - in One Box Only)                                                                                         Click here for:                        Descripti6ns.
I               CONTRACT                                    TORTS                                        FORFEITURE/PENALTY                          BANKRUPTCY                      OTHER STATUTES            I
1 110 Insurance                      PERSONAL INJURY               PERSONAL INJURY                    1 625 Drug Related Seizure              7 422 Appeal 28 USC l58           1. 375 False Claims Act
7 120 Marine                      7 310 Airplane               J 365 Personal Injury -                       of Property 21 USC 881           7 423 Withdrawal                  7 376 Qui Tam (3l USC
7.1 [30 Miller Act                7 315 Airplane Product               Product Liability              1 690 Other                                    28 USC 157                         3729(a))
7 140 Negotiable Instrument               Liability            1 367 Health Care/                                                                                               .7 400 State Reapportionment
7 l50 Recovery of Overpayment 1 320 Assault, Libel &                  Pharmaceutical                                                              PROPERTY RIGHTS                J 410 Antitrust
        & Enforcement of Judgment         Slander                     Personal Injury                                                         1 820 Copyrights                  1 430 Banks and Banking
1 151 Medicare Act                7 330 Federal Employers'            Product Liability                                                        71 830 Patent                     7 450 Commerce
1 152 Recovery of Defaulted               Liability            1 368 Asbestos Personal                                                        .1 840 Trademark                  1 460 Deportation
        Student Loans             1 340 Marine                         Injury Product                                                                                           1 470 Racketeer Influenced and
        (Excludes Veterans)       7 345 Marine Product                 Liability                                  LABOR                          SOCIAL SECURITY                       Corrupt Organizations
1 153 Recovery of Overpayment             Liability              PERSONAL PROPERTY                    1 710 Fair Labor Standards              1 861 HIA (139511)                1 480 Consumer Credit
        of Veteran's Benefits     1 350 Motor Vehicle          1 370 Other Fraud                              Act                             1 862 Black Lung (923)             7 490 Cable/Sat TV
1 160 Stockholders' Suits         0 355 Motor Vehicle          0 3'l Truth in Lending                 7 720 Labor/Nlanagemeht                 7 863 DIWC/DIWW (405(g))          1 850 Securities/Commodities/
X 190 Other Contract                     Product Liability     1 380 Other Personal                           Relations                       1 864 SSID Title XVI                      Exchange
J 195 Contract Product Liability 1 360 Other Personal                 Property Damage                 1 740 Railway Labor Act                 1 865 RSI (405(g))                3 890 Other Statutory Actions
1 196 Franchise                          Injury                J 385 Property Damage                  3 751 Family and Medical                                                  1 891 Agricultural Acts
                                  1 362 Personal Injury -             Product Liability                       Leave Act                                                         1 893 Environmental Matters
                                         Medical Malpractice                                          1 '90 Other Labor Litigation                                              1 895 Freedom of Information
        REAL PROPERTY                 CIVIL RIGHTS              PRISONER PETITIONS                    1 791 Employee Retirement                  FEDERAL TAX SUITS                      Act
1 210 Land Condemnation           7 440 Other Civil Rights        Habeas Corpus:                             Income Security Act              _I 870 Taxes (U.S. Plaintiff      :1 896 Arbitration
1 220 Foreclosure                 1 441 Voting                 1 463 Alien Detainee                                                                   or Defendant)             1 899 Administrative Procedure
1 230 Rent Lease & Ejectment      1 442 Employment             7 510 Motions to Vacate                                                        _I 871 IRS—Third Party                   Act/Review or Appeal of
1 240 Torts to Land               1 443 Housing/                      Sentence                                                                        26 USC 7609                      Agency Decision
1 245 -fort Product Liability            Accommodations        J 530 General                                                                                                    7  950 Constitutionality of
1 290 All Other Real Property     1 445 Amer. w/Disabilities - 1 535 Death Penalty                           IMMIGRATION                                                               State Statutes
                                         Employment               Other:                              1 462 Naturalization Application
                                  7 446 Amer. w/Disabilities - 1 540 Mandamus & Other                 1 465 Other Immigration
                                         Other                 1 550 Civil Rights                            Actions
                                  1 448 Education              1 555 Prison Condition
                                                               3 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an "X" ii One Box Only)
X     1 , Original             1 2 Ret loved front          1 3 Remanded from                     1 4 Reinstated or 1 5 Transferred from                   1 6 Multidistrict              1 8 Multidistrict
         `Proceeding                Sta e Court                   Appellate Court                      Reopened           Another District                      Litigation -                   Litigation -
                                                                                                                                  (specifj)                     Transfer                       Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                    42 U.S.C. 1395
VI. CAUSE OF ACTION Brief description of cause:
                    Reimbursement action under Medicare Advantage Organization contract
VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                   19,708.00                                   JURY DEMAND:         1 Yes X No

VIII.          RELATED CASE(S)
                                               (See instructions):
              IF ANY                                                   JUDGE                                                                    DOCKET NUMBER
DATE                                                                      SIGNATURE OF A ORNEY IOF
                                                                                                 ECO1
04/13/2017
    FOR OFFICE USE ONLY
      RECEIPT 4                     AMOUNT                                     APPLYING IFP                                      JUDGE                             MAG. JUDGE
JS 44 Reverse (Rev. 08/16)
      Reverse (Rev.          Case 3:17-cv-00621-KAD Document 1-13 Filed 04/13/17 Page 2 of 2

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                      Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This
                                                                This form,
                                                                      form, approved
                                                                             approved byby the
                                                                                           the Judicial
                                                                                               Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose
                                                   purpose ofof initiating
                                                                initiating the
                                                                            the civil
                                                                                civil docket
                                                                                      docket sheet.
                                                                                             sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The
                                      The attorney
                                           attorney filing
                                                    filing aa case
                                                              case should
                                                                    should complete the form as follows:

I.(a) Plaintiffs-Defendants.
I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and and defendant.
                                                                                               defendant. IfIf the
                                                                                                               the plaintiff
                                                                                                                   plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. IfIf the
                                                             the plaintiff
                                                                 plaintiff or
                                                                           or defendant
                                                                              defendant is
                                                                                         is an
                                                                                            an official within a government agency, identify first the agency and
        then the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In
                         In U.S.
                            U.S. plaintiff
                                 plaintiff cases,
                                           cases, enter
                                                  enter the
                                                        the name of the county in which the first listed defendant
                                                                                                             defendant resides
                                                                                                                         resides at
                                                                                                                                 at the
                                                                                                                                     the time
                                                                                                                                          time of
                                                                                                                                               of filing.
                                                                                                                                                   filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number,  number, and
                                                                            and attorney
                                                                                 attorney of
                                                                                          of record.  If there
                                                                                              record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a),       8(a), F.R.Cv.P.,
                                                                                           F.R.Cv.P., which
                                                                                                         which requires
                                                                                                                 requires that
                                                                                                                           that jurisdictions
                                                                                                                                 jurisdictions be
                                                                                                                                                be shown
                                                                                                                                                    shown in
                                                                                                                                                           in pleadings.
                                                                                                                                                              pleadings. Place an "X"
         in one of the boxes. IfIf there
                                    there isis more
                                               more than
                                                      than one
                                                            one basis
                                                                 basis ofof jurisdiction,
                                                                            jurisdiction, precedence
                                                                                          precedence is given in the order shown below.
         United States plaintiff. (1)(1) Jurisdiction
                                         Jurisdiction based
                                                         based onon 28 U.S.C. 1345 and 1348. Suits    Suits by
                                                                                                             by agencies
                                                                                                                agencies and
                                                                                                                          and officers
                                                                                                                                officers of
                                                                                                                                          of the
                                                                                                                                             the United
                                                                                                                                                 United States are included here.
         United States defendant. (2)  (2) When
                                             When the
                                                    the plaintiff
                                                         plaintiff isis suing
                                                                        suing the
                                                                               the United
                                                                                   United States,
                                                                                           States, its
                                                                                                    its officers
                                                                                                        officers or agencies, place an "X" in this box.
                            (3)This
         Federal question. (3)   Thisrefers
                                         refers to
                                                 to suits
                                                     suits under
                                                           under 2828 U.S.C.
                                                                        U.S.C. 1331,
                                                                                 1331, where
                                                                                       where jurisdiction
                                                                                               jurisdiction arises
                                                                                                              arises under
                                                                                                                     under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United     United States.   In cases
                                                                                       States. In  cases where
                                                                                                          where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4)(4) This
                                           This refers
                                                  refers to
                                                          to suits
                                                             suits under
                                                                   under 28 U.S.C. 1332, where parties are citizens of different  different states.  When Box 4 is checked, the
                                                                                                                                             states. When
         citizenship of the different parties
                                         parties must
                                                   must bebe checked.
                                                              checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be
                                                                                       be completed
                                                                                          completed ifif diversity
                                                                                                         diversity of
                                                                                                                   of citizenship
                                                                                                                      citizenship was
                                                                                                                                  was indicated
                                                                                                                                       indicated above.
                                                                                                                                                 above. Mark this
         section for each principal party.

IV.      Nature of
         Nature  of Suit.
                    Suit. Place
                          Place an
                                 an "X"
                                     "X" in
                                          in the
                                              the appropriate
                                                  appropriate box.
                                                              box. IfIfthere
                                                                        thereare
                                                                              aremultiple
                                                                                 multiplenature
                                                                                          natureof
                                                                                                 ofsuit
                                                                                                    suitcodes
                                                                                                         codes associated
                                                                                                               associated with
                                                                                                                          with the
                                                                                                                               the case,
                                                                                                                                   case, pick
                                                                                                                                         pick the
                                                                                                                                              the nature
                                                                                                                                                  nature of
                                                                                                                                                         of suit
                                                                                                                                                            suit code
                                                                                                                                                                 code
         that is
         that is most
                 most applicable.  Click here
                      applicable. Click    here for:
                                                 for: Nature
                                                      Nature of
                                                             of Suit
                                                                Suit Code
                                                                     Code Descriptions.
                                                                            Descriptions.


V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) (1) Cases
                                       Cases which
                                               which originate
                                                       originate in
                                                                  in the
                                                                      the United
                                                                           United States district courts.
         Removed from State Court. (2)    (2) Proceedings
                                              Proceedings initiated
                                                             initiated inin state
                                                                            state courts
                                                                                   courts may
                                                                                          may be
                                                                                               be removed
                                                                                                   removed toto the
                                                                                                                the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court.         (3) Check
                                        Court. (3)   Check this box for cases remanded to the district court for      for further
                                                                                                                          further action.  Use the date of remand as the filing
                                                                                                                                  action. Use
         date.
         Reinstated or Reopened. (4)  (4) Check
                                           Check this
                                                  this box
                                                        box for cases reinstated or reopened in the district court.        Use the
                                                                                                                   court. Use   the reopening
                                                                                                                                    reopening date as the filing date.
         Transferred from Another
                             Another District.    (5)For
                                       District (5)   Forcases
                                                           casestransferred
                                                                   transferred under
                                                                                  under Title
                                                                                        Title 28
                                                                                              28 U.S.C.
                                                                                                  U.S.C. Section 1404(a). Do  Do not
                                                                                                                                  not use
                                                                                                                                      use this
                                                                                                                                           this for
                                                                                                                                                for within
                                                                                                                                                    within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation — – Transfer.
                                       Transfer. (6)
                                                  (6) Check
                                                       Check this
                                                               this box
                                                                     box when
                                                                          when aa multidistrict
                                                                                    multidistrict case
                                                                                                  case is
                                                                                                       is transferred
                                                                                                          transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation — – Direct
                                       DirectFile.
                                               File. (8)
                                                     (8) Check
                                                         Check this
                                                                  this box
                                                                        box when
                                                                              when aa multidistrict
                                                                                      multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief
                                                                                Brief Description:
                                                                                       Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place Place anan "X"
                                                                 "X" in
                                                                      in this
                                                                          this box
                                                                               box ifif you
                                                                                        you are
                                                                                             are filing
                                                                                                 filing aa class
                                                                                                           class action
                                                                                                                 action under Rule 23, F.R.Cv.P.
                  Inthis
         Demand. In  thisspace
                          spaceenter
                                enter the
                                       the actual
                                           actual dollar
                                                  dollar amount
                                                           amount being
                                                                   being demanded
                                                                            demanded or   or indicate
                                                                                             indicate other
                                                                                                       other demand, such as a preliminary injunction.
                       Check the
         Jury Demand. Check    the appropriate
                                   appropriate box
                                                 box to
                                                      to indicate
                                                          indicate whether
                                                                   whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference
                                                          reference related
                                                                    related pending
                                                                            pending cases,
                                                                                    cases, ifif any. If there are related pending cases, insert the docket
                                                                                                any. If
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil
                                               civil cover
                                                     cover sheet.
                                                           sheet
